 Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 1 of 29 Page ID #:159



 1 THOMAS P. O’BRIEN
     United States Attorney
 2 LEON W. WEIDMAN
     Assistant United States Attorney
 3 Chief, Civil Division
     KATHERINE M. HIKIDA
 4 Assistant United States Attorney
   Cal. Bar No. 153268
 5       Room 7516, Federal Building
         300 North Los Angeles Street
 6       Los Angeles, California 90012
         Telephone: (213) 894-2285
 7       Facsimile: (213) 894-7819
         katherine.hikida@usdoj.gov
 8
     Attorneys for Federal Defendant
 9 JASON SWANSON
10
                              UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
                                    WESTERN DIVISION
13
14 MOHAMMAD SALAMEH,                )    NO. CV 98-8493-SVW(MLGx)
                                    )
15               Plaintiff,         )    DEFENDANT’S TRIAL BRIEF
                                    )
16               v.                 )
                                    )    Trial: 1/8/08 at 9:00 a.m.
17 JASON SWANSON,                   )
                                    )
18               Defendant.         )    Before the Honorable
                                    )    Stephen V. Wilson
19                                  )
20
21
22
23
24
25
26
27
28
 Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 2 of 29 Page ID #:160



 1                                          TABLE OF CONTENTS
 2   DEFENDANT’S TRIAL BRIEF . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
 3   I.     INTRODUCTION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
 4   II.    STATEMENT OF FACTS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
 5   III.   ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
 6          A.       Inmate Salameh Cannot Establish That Officer Swanson
                     Personally Violated Inmate Salameh’s Eight Amendment
 7                   Right . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
                                                              -i-
28
 Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 3 of 29 Page ID #:161



 1                                                 TABLE OF AUTHORITIES
 2                                                        FEDERAL CASES
 3   Anderson v. County of Kern,
           45 F.3d 1310 (9th Cir. 1995) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
 4
     Bell v. Wolfish,
 5           441 U.S. 520 (1979) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
 6   Bivens v. Six Unknown Agents of the Federal Bureau of Narcotics,
            403 U.S. 388 (1971) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2, 21, 25
 7
     Brosseau v. Haugen,
 8          125 S. Ct. 596 (2004) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
 9   Chuman v. Wright,
          76 F.3d 292 (9th Cir. 1996) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
10
     Clement v. Gomez,
11         298 F.3d 898 (9th Cir. 2002) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
12   Crawford-El v. Britton,
           523 U.S. 574 (1998) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
13
     Drummond ex rel. Drummond v. City of Anaheim,
14        343 F.3d 1052 (9th Cir. 2003) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
15   Estate of Ford v. Ramirez-Palmer,
             301 F.3d 1043 (9th Cir. 2002) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23, 24
16
     Hope v. Pelzer,
17         536 U.S. 730 (2002) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23, 24
18   Hoptowit v. Spellman,
           753 F.2d 779, 784 (9th Cir. 1985) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
19
     Hudson v. McMillan,
20         503 U.S. 1 (1992) quoting Whitley v. Albers, 475 U.S. 312 (1986) . . . . . . . . . . . . 22, 23
21   Hutto v Finney,
            437 U.S. 678 (1978) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
22
     Jeffers v. Gomez,
23           267 F.3d 895 (9th Cir. 2001) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22, 24
24   Johnson v. County of Los Angeles,
           340 F.3d 787 (9th Cir. 2003) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
25
26
27
                                                                      -ii-
28
 Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 4 of 29 Page ID #:162



 1                                                    TABLE OF AUTHORITIES
 2   Jones v. Williams,
            297 F.3d 930 (9th Cir. 2002) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
 3
     Malley v. Briggs,
 4          475 U.S. 335 (1986) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
 5   Marquez v. Gutierrez,
           322 F.3d 689 (9th Cir. 2003) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
 6
     Saucier v. Katz,
 7         533 U.S. 194 (2001) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22, 23, 24
 8   Whitley v. Albers,
           475 U.S. at 312 (1986) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
 9
10                                                       FEDERAL STATUTES
11   18 U.S.C. § 371 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
12   18 U.S.C. 844(I) & 2 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
13   18 U.S.C. § 844(D) & 2 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
14   18 U.S.C. § 3334 & 2 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1, 2
15   18 U.S.C. § 111 & 2 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
16   18 U.S.C. § 924(c) & 2 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
17   18 U.S.C. § 1546(a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
18
19
20
21
22
23
24
25
26
27
28                                                                       -iii-
 Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 5 of 29 Page ID #:163



 1                          DEFENDANT’S TRIAL BRIEF
 2 I.     INTRODUCTION
 3        Plaintiff Mohammad Salameh (“Inmate Salameh”) claims that defendant
 4 Jason Swanson (“Officer Swanson”) in his individual capacity violated the Eighth
 5 Amendment’s prohibition against cruel and unusual punishment during a transfer
 6 from the general population unit to the Special Housing Unit (“SHU”) of the United
 7 States Penitentiary at Lompoc, California (“USP Lompoc”). In this case, the
 8 evidence will show that Officer Swanson is not personally liable to Inmate Salameh
 9 under Bivens v. Six Unknown Agents of the Federal Bureau of Narcotics, 403 U.S.
10 388 (1971), because Inmate Salameh cannot establish that Officer Swanson violated
11 Inmate Salameh’s Eighth Amendment right by using malicious or sadistic force
12 against him.
13 II.    STATEMENT OF FACTS
14       Inmate Salameh was convicted of the 1993 World Trade Center bombing and
15 was sentenced originally to 240 years (later amended to 116 years and 11 months
16 with 5 years supervision) for Conspiracy to Damage Building by Explosive Device,
17 Explosive Destruction of Property, Explosive Destruction of Government Property,
18 Interstate Transport of Explosives, Destruction of Motor Vehicle, Assault on Federal
19 Officer, Using or Carrying a Destructive Device During a Crime of Violence, and
20 False Statement on Immigration and Naturalization Service Application for
21 Temporary/Permanent Resident Alien Status, in violation of 18 U.S.C. § 371, 18
22 U.S.C. § 844(I) & 2, 18 U.S.C. § 844(D) & 2, 18 U.S.C. §§ 3334 & 2, 18 U.S.C. §
23 111 & 2, 18 U.S.C. § 924(c) & 2, 18 U.S.C. § 1546 (a), respectively. See Ex. 32
24 attached to Decl. of Joseph Fitzmaurice (“Fitzmaurice Decl.”); Ex. 33 attached to
25 Decl. of Jamie Bengford (“Bengford Decl.”); Swanson Decl., ¶ 2; Bengford Decl., ¶
26 5; Decl. of Todd Manspeaker (“Manspeaker Decl.”), ¶ 3; Decl. of Raymond
27 Velasquez (“Velasquez Decl.”), ¶ 4; Franco Decl., ¶ 3.
28

                                             1
 Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 6 of 29 Page ID #:164



 1        Inmate Salameh was incarcerated at the USP Lompoc from February 4, 1998
 2 to September 26, 2002. See Ex. 21 attached to Decl. of Salvador R. Franco
 3 (“Franco Decl.”) . He was transferred to the Administrative Maximum Facility
 4 (“ADX”) in Florence, Colorado on September 26, 2002, where he is presently
 5 incarcerated. See Decl. of Jason Swanson (“Swanson Decl.”), ¶ 2; Decl. of Robert
 6 Garcia (“Garcia Decl.”), ¶ 3.
 7        In 1998, the inmate population at USP Lompoc consisted on average of 1,035
 8 to 1,100 inmates. Decl. of Edwin Navato (“Navato Decl.”), ¶ 2; Garcia Decl., ¶ 2.
 9 Inmate Salameh was not the only inmate at USP Lompoc convicted of terrorist
10 activity, murder, bombing, anti-government stance, and other serious violence.
11 Swanson Decl., ¶ 3. Other inmates had similar serious convictions. Id. In fact, in
12 1998, the population of inmates at USP Lompoc included the most serious, violent,
13 and heinous offenders in the Western Region including bank robbers, gang leaders,
14 drug dealers, multiple murderers, murderers of law enforcement officers, child
15 rapists, and terrorists. See Decl. of Bernie Janusz (“Janusz Decl.”), ¶ 2; Fitzmaurice
16 Decl., ¶ 2; Bengford Decl., ¶ 2; Navato Decl., ¶ 2; Swanson Decl., ¶ 3; Garcia Decl.,
17 ¶ 2 . These inmates required high and/or maximum security because of their lengthy
18 sentences and risks for escape. Fitzmaurice Decl., ¶ 2; Navato Decl., ¶ 2; Bengford
19 Decl., ¶ 2. It was not uncommon for USP Lompoc staff to respond to threats,
20 assaults, riots, and other disturbance on a regular basis. See Janusz Decl., ¶ 2;
21 Fitzmaurice Decl., ¶ 3; Bengford Decl., ¶ 3.
22        In 1998, the tension at USP Lompoc was high because of racial problems
23 between black and white inmates. Fitzmaurice Decl., ¶ 3; Bengford Decl., ¶ 3.
24 Between June 15, 1998 to June 17, 1998, the Special Investigative Services (“SIS”)
25 office at USP Lompoc received information that both black and white inmates were
26 stockpiling weapons due to racial tensions and that there was going to be a violent
27 conflict between members of the Sunni Muslim Community and the Odinist
28 Community. Garcia Decl., ¶ 4. During this time, Lieutenant Fitzmaurice received

                                               2
 Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 7 of 29 Page ID #:165



 1 information from confidential informants and observations by recreation and
 2 chaplancy staff and housing unit officers that the tension was at a boiling point
 3 between black and white inmates. Fitzmaurice Decl., ¶ 4; Bengford Decl., ¶ 4.
 4         In the morning of June 17, 1998, Lieutenant Fitzmaurice briefed the Warden
 5 and Executive Staff on the intelligence that was gathered on the racial problem.
 6 Fitzmaurice Decl., ¶ 4; Manspeaker Decl., ¶ 2. The Warden at USP Lompoc made
 7 the decision that morning to lockdown the institution. Fitzmaurice Decl., ¶ 4;
 8 Bengford Decl., ¶ 4; Manspeaker Decl., ¶ 2. A decision was made to place inmates
 9 in the SHU who were leadership figures of the various inmate groups involved
10 including the Aryan Brotherhood, Odonists, Sunni Muslims, and African American
11 inmates from Washington, D.C. Id. Lieutenant Fitzmaurice generated the two lists
12 of inmates (white and black inmates) to be placed in SHU. Fitzmaurice Decl., ¶ 4.
13         At the time, there were many reasons why Inmate Salameh was placed on one
14 of these lists. Fitzmaurice Decl., ¶ 5. Inmate Salameh was a prominent member of
15 the Sunni Muslims. Id. He has a Jihaddist philosophy, which means that he harms
16 or kills others to further his religious belief even if it means he would lose his own
17 life. Fitzmaurice Decl., ¶ 5. Inmate Salameh also had recently sent out a Last Will
18 Statement/Islamic Funeral and Burial Arrangements Declaration on June 9, 1998.
19 Id.; Ex. 19 attached to Fitzmaurice Decl. Inmate Richard Scutari, the leader of the
20 Odonists group at USP Lompoc also sent a Last Will and Testament that same week,
21 which caused concern because it was unusual for both of them to do so.
22 Fitzmaurice Decl., ¶ 5. Inmate Salameh was also seen associating with Inmate
23 Anthony Austin, a D.C. inmate, who was later known for attempting to organize
24 Sunni Muslims to attack the members of the Aryan Brotherhood. Id. Furthermore,
25 it was reasonable to believe that prison White supremacist gangs would have
26 targeted Inmate Salameh and his cohorts. Bengford Decl., ¶ 5. Because there was a
27 perceived threat to Muslim inmates, it was not unusual for Inmate Salameh to have
28 been detained in SHU until the threat was investigated. Id. Based on the




                                               3
 Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 8 of 29 Page ID #:166



 1 information gathered regarding racial tensions at USP Lompoc and a possible
 2 violent conflict, 19 inmates were identified as potential participants.
 3 Garcia Decl., ¶ 4. Inmate Salameh, a high-profile inmate and a known member of
 4 the Sunni Muslim Community, was one of the inmates who was identified as a
 5 potential participant. Id.
 6         The 19 inmates including Inmate Salameh were transferred to SHU on June
 7 17, 1998. Id.; Fitzmaurice Decl., ¶ 6. Lieutenant Garcia supervised approximately 5
 8 to 10 transfers of inmates to SHU at USP Lompoc on June 17, 1998. Garcia Decl., ¶
 9 4. Lieutenant Garcia supervised the two-member escort team that was assigned to
10 transfer Inmate Salameh from the M Unit, which was in the general population, to
11 SHU. Id., ¶ 5. The escort team consisted of two Special Operations Resource Team
12 (“SORT”) members, which are staff who volunteer for this duty and are highly
13 trained in tactical scenarios and disturbance control. Id.; Janusz Decl., ¶ 4. SORT
14 members qualify for the team by excelling at a physical fitness test, obstacle course,
15 use of firearms, and other requirements. Janusz Decl., ¶ 4. Further, SORT members
16 must be skilled at problem-solving , controlling highly stressful situations, and at all
17 times maintaining the honor and integrity of the BOP. Id.
18         Inmate Salameh was placed in handcuffs while being transferred in
19 accordance with Bureau of Prisons (“BOP”) policy, which authorized BOP staff to
20 apply physical restraints in situations requiring precautionary restraints, particularly
21 in the movement or transfer of inmates (e.g., the use of handcuffs while moving
22 inmates to and from a cell in detention, escorting an inmate to SHU pending
23 investigation, etc.). Garcia Decl., ¶ 6; Ex. 40 attached thereto; Janusz Decl., ¶ 5;
24 Ex. 40 attached thereto. Inmate Salameh as well as the other 18 inmates were
25 placed in administrative detention in SHU pending an investigation of the potential
26 racial conflict. Garcia Decl., ¶ 6; Bengford Decl., ¶ 7; Ex. 12 attached thereto.
27 Inmate Salameh was in handcuffs for the brief amount of time that it took the escort
28 team to transfer him from the general population housing unit to his cell in SHU.
     Garcia Decl., ¶ 6.

                                               4
 Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 9 of 29 Page ID #:167



 1        Case Manager Janusz and Officer Swanson were the two-member escort team
 2 that was assigned to transfer Inmate Salameh from the M Housing Unit to SHU on
 3 June 17, 1998. Janusz Decl., ¶¶ 4, 5; Swanson Decl., ¶ 5. During Inmate Salameh’s
 4 escort on June 17, 1998, both Case Manager Janusz and Officer Swanson wore their
 5 SORT uniforms which included helmets, gas masks, batons, black jump suits, and
 6 other gear. Janusz Decl., ¶ 4; Swanson Decl., ¶ 5. Both Case Manager Janusz and
 7 Officer Swanson would have had their helmets and full gear on except for the gas
 8 masks which were not used because no tear gas was deployed. Id.
 9        Officer Swanson does not recall any particular interaction with Inmate
10 Salameh prior to June 17, 1998, although he recalls seeing Inmate Salameh in the
11 company of other Muslim inmates. Swanson Decl., ¶ 4. Officer Swanson recalls
12 seeing Inmate Salameh in the company of other Muslim inmates. Id. Inmate
13 Salameh’s co-defendants in the 1993 World Trade Center bombing were also
14 housed at USP Lompoc in 1998, which among others included Fadil Abdelgani and
15 Mahmud Abouhalima. Swanson Decl., ¶ 4. Officer Swanson specifically recalls
16 speaking with Inmate Abdelgani and Inmate Abouhalima in USP Lompoc’s Medical
17 Department’s second floor law library cell. Swanson Decl., ¶ 4. The conversation
18 was memorable because Inmate Abdelgani became argumentative with Officer
19 Swanson when Inmate Abdelgani was in the law library, which is a cell that is
20 secured when an inmate is using it. Id. Inmate Abdelgani asked if Inmate
21 Abouhalima could join him in the law library cell to assist Inmate Abouhalima with
22 his legal issue. Swanson Decl., ¶ 4. Officer Swanson informed Inmate Abdelgani
23 that it was inappropriate for Inmate Abouhalima to be in the law library cell with
24 him. Id.
25        Officer Swanson participated in escorting up to 20 inmates from the general
26 population to SHU on June 17, 1998. Swanson Decl., ¶ 5. He did not have to use
27
28 any force to move any inmates to SHU on that date. Id. He was later




                                              5
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 10 of 29 Page ID #:168



 1 informed that Inmate Salameh was one of the inmates who was escorted that day but
 2 does not specifically recall escorting Inmate Salameh, distinct from the other
 3 inmates. Swanson Decl., ¶ 5. Officer Swanson recalls that the inmates from the M
 4 Unit walked to SHU, which includes the H and I Housing Units, under their own
 5 power and were not physically lifted or carried by members of the escort team and
 6 the inmates were not abused in any manner en route to SHU or at any time during
 7 the escorts/transfers on June 17, 1998. Id.
 8         Inmate Salameh was escorted from the M Housing Unit to the I Housing Unit
 9 in SHU. Garcia Decl., ¶ 7; Janusz Decl., ¶ 5. The escort began when Lieutenant
10 Garcia arrived in the M Housing Unit. Garcia Decl., ¶ 7. Inmate Salameh was on
11 the second floor in his cell number C-5. Id. He was advised to submit to handcuffs,
12 to which he complied. Garcia Decl., ¶ 7; Janusz Decl., ¶ 5. Although Officer
13 Swanson does not specifically recall placing handcuffs on Inmate Salameh,
14 Officer Swanson would have known if Inmate Salameh’s handcuffs were applied
15 too tightly because his standard practice in applying handcuffs is to take a finger and
16 place it near the inside of the ring before and as Officer Swanson tightened each
17 handcuff. Swanson Decl., ¶ 6. This ensured that there was enough space between
18 the wrist and the handcuff. Swanson Decl., ¶ 6. Officer Swanson repeats the same
19 procedure on the other wrist. Id. If the handcuffs were applied too tightly, Officer
20 Swanson would unkey the handcuffs and loosen them without applying any
21 additional pressure on Inmate Salameh’s wrists or hands. Swanson Decl., ¶ 6.
22         Officer Swanson does not recall any inmates complaining about their
23 handcuffs being too tight on June 17, 1998. Id. Case Manager Janusz also does not
24 recall Inmate Salameh complaining that his hand restraints were too tight. Janusz
25 Decl., ¶ 7. Lieutenant Garcia does not recall Inmate Salameh complaining about any
26 injury to his hands or wrists due to the handcuffs. Garcia Decl., ¶ 11. If an
27
28
     inmate had complained about his handcuffs being too tight, Officer Swanson would

                                              6
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 11 of 29 Page ID #:169



 1 have checked the handcuffs and unkeyed them if necessary to loosen them as
 2 described above. Swanson Decl., ¶ 6. However, because it is Officer Swanson’s
 3 standard practice to place a finger near the inside of the ring before and as he
 4 tightens each handcuff, inmates do not complain that the handcuffs Officer Swanson
 5 places on them are too tight. Id.
 6        Once Inmate Salameh was handcuffed, he was asked to step back and the
 7 door of his cell number C-5 was opened. Garcia Decl., ¶ 7. The two-member SORT
 8 team walked with Inmate Salameh down the hall of the second floor and down one
 9 flight of stairs. Garcia Decl., ¶ 7; Janusz Decl., ¶ 5; When practical, Inmate
10 Salameh was in the middle and each SORT team member were on either side of
11 Inmate Salameh. Garcia Decl., ¶ 7. At all times during the escort, Inmate Salameh
12 walked without assistance. Id.; Janusz Decl., ¶ 6; Swanson Decl., ¶ 5. The two
13 SORT members who escorted Inmate Salameh never carried him or lifted him up
14 under his arms so his feet were not touching the ground or so Inmate Salameh had to
15 tiptoe. Garcia Decl., ¶ 7; Swanson Decl., ¶ 5; Janusz Decl., ¶ 6. Lieutenant Garcia
16 was walking with them during the entire transfer from the M Housing Unit to the I
17 Housing Unit. Garcia Decl., ¶ 7. Lieutenant Garcia guided the escort out of the M
18 Housing Unit. Id. There were no significant events during the passage from Inmate
19 Salameh’s cell in the M Housing Unit to the door of the M Housing Unit. Garcia
20 Decl., ¶ 7. Lieutenant Garcia was watching and had a clear view of Inmate
21 Salameh’s escort at all times, and did not observe or hear any shoving, pushing, or
22 slamming into gates, bars or walls; or stepping on Inmate Salameh’s toes or feet; or
23 any conduct which could be considered mistreatment or abusive. Id.
24        The SHU consisted of two separate housing units, H and I. Garcia Decl., ¶ 8;
25 Fitzmaurice Decl., ¶ 7. The main door to the SHU is in the H Housing Unit. Id.
26 After exiting the M Housing Unit, Officer Swanson, Case Manager Janusz, Inmate
27
28 Salameh, and Lieutenant Garcia walked directly to the H Housing Unit. Id. The H




                                              7
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 12 of 29 Page ID #:170



 1 Housing Unit entrance in SHU is a few feet away from the M Housing Unit door
 2 and directly across from each other. Garcia Decl., ¶ 8. Lieutenant Manspeaker
 3 specifically remembers seeing some of the SORT members escorting Inmate
 4 Salameh from the M Housing Unit when he happened to be walking the East
 5 corridor as Inmate Salameh was coming out of the M Housing Unit. Manspeaker
 6 Decl., ¶ 4. Lieutenant Manspeaker saw Lieutenant Garcia, the SORT leader, but
 7 does not recall recognizing the SORT members because he believes they were
 8 wearing helmets with the face shields down. Id. Lieutenant Manspeaker remembers
 9 that Inmate Salameh called out to him when Inmate Salameh saw him in the corridor
10 and asked Lieutenant Manspeaker why Inmate Salameh was going to the SHU. Id.
11 Lieutenant Manspeaker told Inmate Salameh something to the effect that there was a
12 lockdown and Inmate Salameh would be informed of the reason for his placement.
13 Manspeaker Decl., ¶ 4.
14         Lieutenant Manspeaker specifically recalls that Inmate Salameh walked
15 without assistance. Manspeaker Decl., ¶ 5. Inmate Salameh was not carried or
16 lifted up under his arms so his feet were not touching the ground or so Inmate
17 Salameh had to tiptoe. Id. Lieutenant Manspeaker does not recall Inmate Salameh
18 complaining about any injury to his hands or wrists due to the hand restraints or
19 injury to his face, feet, or any other part of his body and would certainly remember
20 if he had done so. Manspeaker Decl., ¶ 5. Lieutenant Manspeaker did not see any
21 cuts, bruises, or marks on Inmate Salameh’s face or any blood on him. Id. If he had
22 seen any cuts, bruises, or marks on Inmate Salameh’s face or any injury to his hands
23 or wrists, or any blood on him, Lieutenant Manspeaker would have informed
24 Lieutenant Garcia and called for medical staff to see Inmate Salameh at the SHU.
25 Manspeaker Decl., ¶ 5.
26         The door to the H Unit was opened and the two-member escort team with
27 Inmate Salameh and Lieutenant Garcia entered and then the door was locked behind
28
     the four of them. Garcia Decl., ¶ 8. On June 17, 1998, Officer Velasquez was

                                              8
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 13 of 29 Page ID #:171



 1 working as the H Housing Unit Number 2 Officer with a schedule of 8:00 a.m. to
 2 4:00 p.m., which on the roster appeared as “SHU #2.” See Ex. 35 attached to
 3 Velasquez Decl.; Velasquez Decl., ¶ 3. As the H Housing Unit Number 2 Officer,
 4 Officer Velasquez would have opened the H Housing Unit door for the SORT
 5 members and inmates to enter on June 17, 1998. Velasquez Decl., ¶ 3. Officer
 6 Velasquez does not recall seeing Inmate Salameh submit to the visual strip search
 7 but he describes the standard procedure used by staff. Id.,¶ 5. Inmate Salameh’s
 8 hand restraints would have been removed while the visual strip search was
 9 conducted. Id. After Inmate Salameh submitted to the visual search, then he would
10 have changed out of his general population clothes, including shoes, and into the
11 authorized SHU clothes. Velasquez Decl., ¶ 5. Once the visual search was
12 completed and his clothes were exchanged, he would have been placed in hand
13 restraints again and then the H Housing Unit Strip Cell door on the other side would
14 have been opened. Id. The visual strip search, clothes exchange and walk through
15 the H Housing Unit to the I Housing Unit would have been approximately 10 to 15
16 minutes, or sometimes faster. Velasquez Decl., ¶ 5.
17         Officer Velasquez does not recall Inmate Salameh complaining about any
18 injury to his hands or wrists due to the hand restraints or injury to his face, feet, or
19 any other part of his body. Velasquez Decl., ¶ 6. Officer Velasquez did not see any
20 cuts, bruises, or marks on Inmate Salameh’s face or any blood on him. Id. He did
21 not see any indentations, grooves, or broken skin on Inmate Salameh’s hands or
22 wrists. Velasquez Decl., ¶ 6. If Officer Velasquez had seen any cuts, bruises, or
23 marks on his face, or any injury to his hands or wrists, or any blood on him, Officer
24 Velasquez would have informed Lieutenant Garcia, other Lieutenants and called for
25 medical staff. Id. However, Officer Velasquez did not see or hear Inmate Salameh
26 or any other inmate getting assaulted by staff or inmates while he was in the H
27 Housing Unit that day. Velasquez Decl., ¶ 6. Officer Velasquez would have heard
28
     or seen the incident if the staff had to use force on Inmate Salameh or any other

                                                9
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 14 of 29 Page ID #:172



 1 inmates on June 17, 1998. Id. He did not hear or see Inmate Salameh complain of
 2 being assaulted or injured either before, during, or after the visual strip search and
 3 the subsequent walk through the H Housing Unit to the I Housing Unit. Velasquez
 4 Decl., ¶ 6. Officer Velasquez did not receive any report from staff or inmates that
 5 Inmate Salameh was assaulted during the escort. Id. He would have remembered if
 6 Inmate Salameh was assaulted in the SHU. Velasquez Decl., ¶ 6. Officer Velasquez
 7 would have been required to report such an incident to his supervisor and/or to write
 8 a memorandum concerning such an incident. Id. Officer Velasquez did not have
 9 any further contact with Inmate Salameh after he was moved to the I Housing Unit
10 of the SHU. Velasquez Decl., ¶ 6.
11         Lieutenant Garcia does not recall any significant event during the passage
12 from the hallway corridor to the entrance of the H Housing Unit or as they entered
13 the H Housing Unit; the door was locked behind them. Id. Lieutenant Garcia was
14 watching the escort team’s actions as well as Inmate Salameh and did not observe or
15 hear any abusive conduct towards Inmate Salameh, including any shoving, pushing,
16 or slamming into gates, bars or walls; or stepping on Inmate Salameh’s toes or feet.
17 Id. The two-member escort team placed Inmate Salameh in a strip-search cell,
18 which was located on the left side of the main door to the H Housing Unit. Garcia
19 Decl., ¶ 8; Fitzmaurice Decl., ¶ 8. Inmate Salameh remained in the holding cell by
20 himself for a visual strip search. Fitzmaurice Decl., ¶ 8. Inmate Salameh was given
21 a visual search and then given new clothes appropriate for inmates held in SHU.
22 Garcia Decl., ¶ 8. Lieutenant Garcia recalls that Inmate Salameh complied with this
23 procedure without incident. Id. He recalls that at some point during this time
24 Inmate Salameh asked Lieutenant Garcia why he was being taken to SHU and he
25 recalls telling Inmate Salameh that he would be informed by the appropriate staff
26 shortly. Garcia Decl., ¶ 8.
27         After the visual search, Inmate Salameh was escorted to his final destination
28
     which was in the I Housing Unit, that is the second housing unit in SHU. Garcia

                                              10
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 15 of 29 Page ID #:173



 1 Decl., ¶ 9. During the walk to the I Housing Unit, Lieutenant Garcia does not recall
 2 Inmate Salameh resisting or causing the escort team to use any force. Id. He
 3 complied with the escort team and there were no significant events during this walk
 4 from the H Unit to the I Housing Unit. Garcia Decl., ¶ 9. Lieutenant Garcia was
 5 watching during the entire escort and did not observe or hear any mistreatment or
 6 abusive conduct towards Inmate Salameh. Id.
 7         The route that Inmate Salameh took would have been as seen in the videotape
 8 of the reenactment. See Ex. 10 attached to Fitzmaurice Decl.; Fitzmaurice Decl., ¶
 9 10. There was no actual videotape of Inmate Salameh’s escort on June 17, 1998
10 because there was no use of force or other significant event that would have
11 prompted the use of the video camera. Fitzmaurice Decl., ¶ 10.
12         On or about 3:25 p.m. on June 17, 1998, Officer Edwin Navato noted in the I
13 Housing Unit logbook that he received Inmate Salameh in the I Housing Unit. See
14 Ex. 36 attached to Navato Decl.; Navato Decl., ¶ 4. Officer Navato recalls that the
15 SORT team brought in inmates to the SHU from the general population. Id. He
16 relieved other staff in the I Housing Unit and then he assumed the duties as the
17 Officer-in-Charge of the I Housing Unit. Navato Decl., ¶ 4. Officer Navato recalls
18 checking the incoming inmates, including their name and background information,
19 their appearance, and other information for processing them. Id. He also assigned
20 the cells and cell-mates for the inmates who were brought into the I Unit. Navato
21 Decl., ¶ 4. Officer Navato specifically recalls Inmate Salameh coming into the I
22 Housing Unit. Id. Inmate Salameh was barefoot and appeared furious that
23 Muslims were taken to SHU because he did not know the reason for the lock-up.
24 Navato Decl., ¶ 4. Inmate Salameh was asking for his personal shoes and property.
25 Id. Personal shoes are not allowed in SHU because this property would have to be
26 stored until Inmate Salameh returned to the general population. Navato Decl., ¶ 4.
27 Officer Navato does not recall specifically, however, Inmate Salameh may have
28
     refused to wear the shoes that were given to inmates in SHU. Id.

                                             11
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 16 of 29 Page ID #:174



 1         As part of his duties, Officer Navato assessed Inmate Salameh’s appearance at
 2 the time he came in to the I Housing Unit. Navato Decl., ¶ 5. Officer Navato did
 3 not see any injuries to Inmate Salameh’s face or any other part of his body. Id.
 4 Officer Navato did not observe any cuts, scratches, bruises, or other injuries on
 5 Inmate Salameh nor did he see any blood on Inmate Salameh. Navato Decl., ¶ 5. If
 6 Officer Navato had observed any of the foregoing, he would have reported it
 7 according to BOP procedure and medical assistance would have been summoned.
 8 Id. However, because there were no injuries to report, Officer Navato did not report
 9 anything with respect to Inmate Salameh either during or after the escort on June 17,
10 1998. Navato Decl., ¶ 5. Officer Navato will testify that Inmate Salameh walked on
11 his accord while in the I Housing Unit. Id. Officer Navato does not recall seeing or
12 hearing that Inmate Salameh’s toes were stepped on at any time. Navato Decl., ¶ 5.
13 Inmate Salameh did not complain to Officer Navato of any injuries. Id. Officer
14 Navato does not recall calling for medical assistance for Inmate Salameh. Navato
15 Decl., ¶ 5.
16         Officer Navato will testify that Inmate Salameh did not report that the SORT
17 team assaulted him during the escort from the general population. Navato Decl., ¶
18 6. Moreover, Officer Navato will also testify that he did not witness any of the
19 members of the SORT team push, bang, or pull Inmate Salameh into the walls, bars,
20 or gates or step on Inmate Salameh’s toes, either intentionally or otherwise. Id.
21 Officer Navato does not recall Inmate Salameh complaining to him about being
22 treated in a forceful or abusive manner. Navato Decl., ¶ 6. Officer Navato did not
23 observe any unusual event or activity such as assault or disturbance with respect to
24 the transport of Muslim inmates to the I Housing Unit on June 17, 1998. Id., ¶ 7.
25 Officer Navato did not note any such incident in the logbook. Id. While Inmate
26 Salameh was in the I Housing Unit, he did not report any assault or injuries to
27 Officer Navato. Navato Decl., ¶ 7. Officer Navato will testify that the SORT team
28
     acted professionally at all times in the I Housing Unit. Id., ¶ 6.

                                                12
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 17 of 29 Page ID #:175



 1         When they arrived in the I Housing Unit, Lieutenant Garcia recalls
 2 instructing the two-member escort team to place Inmate Salameh in a cell. Garcia
 3 Decl., ¶ 10. On June 17, 1998, upon his arrival in the I Unit of SHU, Inmate
 4 Salameh was placed in cell C-15 with another Muslim inmate, Fadil Abdelgani, who
 5 was also convicted for his actions in the first World Trade Center bombing. See
 6 Ex. 32 attached to Fitzmaurice Decl.; Swanson Decl., ¶ 4. Pursuant to BOP policy,
 7 inmates are not released from their restraints before being secured behind the cell
 8 doors. Id. As soon as Inmate Salameh had been secured in the cell, Lieutenant
 9 Garcia recalls asking him to place his hands through the food slot so that Lieutenant
10 Garcia could remove his handcuffs in accordance with BOP policy. Garcia Decl., ¶
11 10. Lieutenant Garcia removed Inmate Salameh’s handcuffs by placing his hand on
12 Inmate Salameh’s arm while Lieutenant Garcia unkeyed the handcuffs, and then
13 holding onto the handcuffs while each ring was opened. Id. He did not touch
14 Inmate Salameh other than to remove his handcuffs. Garcia Decl., ¶ 10.
15         Lieutenant Garcia does not recall Inmate Salameh complaining about any
16 injury to his hands or wrists due to the handcuffs or injury to his face, feet, or any
17 other part of his body. Garcia Decl., ¶ 11. Specifically, Lieutenant Garcia was face-
18 to-face with Inmate Salameh when he removed his handcuffs. Id. Lieutenant
19 Garcia did not see any cuts, bruises, or marks on Inmate Salameh’s face or any
20 blood on him. Id. Lieutenant Garcia was able to see Inmate Salameh’s hands and
21 wrists when he removed his handcuffs. Garcia Decl., ¶ 11. Lieutenant Garcia did
22 not see any indentations, grooves, or broken skin on Inmate Salameh’s hands or
23 wrists. Id. If Lieutenant Garcia had seen any cuts, bruises, or marks on Inmate
24 Salameh’s face, or any injury to his hands or wrists, or any blood on him, Lieutenant
25 Garcia would have immediately ordered the escorting staff to call for medical
26 assistance. Garcia Decl., ¶ 11. Lieutenant Garcia would also have reported
27 the injuries to the Captain and would have instructed staff to prepare memorandums,
28 which was standard procedure. Id. Lieutenant Garcia did not prepare any
     memorandum or other document reporting on the escort which occurred

                                               13
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 18 of 29 Page ID #:176



 1 on June 17, 1998. Garcia Decl., ¶ 11. He did not take any of these steps because he
 2 did not observe Inmate Salameh suffer any injuries or see any injuries on him. Id.
 3 Inmate Salameh did not complain of any injuries to Lieutenant Garcia during or
 4 after the escort on June 17, 1998. Garcia Decl., ¶ 11. The escort went according to
 5 plan without any injury to staff or Inmate Salameh. Id.
 6         While the supervisor of the escort team, Lieutenant Garcia did not observe
 7 any actions by his subordinates which were not appropriate or not within the
 8 established policies. Garcia Decl., ¶ 12. At no time did he observe Inmate Salameh
 9 being assaulted by the escort team or having excessive force used against him. Id.
10 Lieutenant Garcia did not and would not have acquiesced in such conduct and
11 would have reported it if he had observed such conduct. Garcia Decl., ¶ 12.
12         At all times during the escort, Officer Swanson was in Case Manager Janusz’s
13 sight and immediate area. Janusz Decl., ¶ 6. Case Manager Janusz’s testimony is
14 that no one used force to subdue or control Inmate Salameh when he entered the H
15 Housing Unit with Officer Swanson and Lieutenant Garcia. Id. If anyone had done
16 so, Case Manager Janusz would have notified Lieutenant Garcia who was present
17 during the escort of Inmate Salameh and also would have prepared a memorandum
18 reporting on any use of force. Janusz Decl., ¶ 6. Officer Swanson and Case
19 Manager Janusz did not and would not have shoved, pushed, or slammed Inmate
20 Salameh into gates, bars or walls; or stepped on Inmate Salameh’s toes or
21 feet. Id. Case Manager Janusz did not see or hear anyone commit any conduct
22 which could be considered mistreatment or abuse of Inmate Salameh. Janusz Decl.,
23 ¶ 6. Case Manager Janusz does not recall Inmate Salameh complaining about any
24 injury to his hands or wrists due to the hand restraints or injury to his face, feet, or
25 any other part of his body. Janusz Decl., ¶ 10. Had Inmate Salameh complained
26 about any injury, Janusz would have informed Lieutenant Garcia and called for
27 medical assistance. Id. Case Manager Janusz did not see any cuts, bruises, or marks
28 on Inmate Salameh’s face or any blood on him. Id. He also did not see any




                                               14
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 19 of 29 Page ID #:177



 1 indentations, grooves, or broken skin on Inmate Salameh’s hands or wrists. Janusz
 2 Decl., ¶ 10. If he had seen any cuts, bruises, or marks on Inmate Salameh’s face or
 3 any injury to his hands or wrists, or any blood on him, Case Manager Janusz would
 4 have informed Lieutenant Garcia and called for medical staff. Id. He would also
 5 have prepared a memorandum. Janusz Decl., ¶ 10. However, Case Manager Janusz
 6 did not take any of these steps because he did not observe Inmate Salameh suffer
 7 any injuries or see any injuries on him. Id. As a Case Manager, Janusz made
 8 weekly SHU rounds, which was in addition to going to SHU to assist inmates in his
 9 caseload. Id., ¶ 11. While Case Manager Janusz was in SHU, he does not recall
10 Inmate Salameh telling him or others that he was assaulted by the SORT members
11 on June 17, 1998. Id. If he had done so, Janusz would have reported it and written
12 a memorandum accordingly. Id.
13         Inmate Salameh alleges that Officer Swanson pushed him into the bars of
14 gates in SHU and that he stepped on his toes. Swanson Decl., ¶ 7. Officer Swanson
15 will testify that he did not have any inmates resist or fight him and the other escort
16 team member. Id. Officer Swanson did not push or pull any inmate into the walls,
17 bars, gates or other areas on June 17, 1998. Swanson Decl., ¶ 7. If he had to use
18 force necessary to control Inmate Salameh, he would have remembered doing so.
19 Id. If force needed to be used, the use of force procedure would have to be followed
20 including videotaping the incident, calling additional staff to assist, using less than
21 lethal weapons, and other security measures. Swanson Decl., ¶ 7. Additionally,
22 each escort member would have to report the incident in writing. Id. Officer
23 Swanson did not prepare any report with respect to Inmate Salameh’s transfer on
24 June 17, 1998, because there was no need to file a report as the transfer was
25 uneventful and no incidents occurred. Id.
26         Officer Swanson did not observe any cuts, scratches, bruises, or other injuries
27 on Inmate Salameh nor did he see any blood on Inmate Salameh. Swanson Decl., ¶
28 8. If he had observed any of the foregoing, he would have reported it according to
     BOP procedure and medical assistance would have been summoned. Id. However,

                                               15
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 20 of 29 Page ID #:178



 1 because there were no injuries to report, Officer Swanson did not report anything
 2 with respect to Inmate Salameh either during or after the escort on June 17, 1998.
 3 Id. Furthermore, the inmates that Officer Swanson escorted walked on their own
 4 accord to the H or I Housing Units of SHU. Swanson Decl., ¶ 8. Officer Swanson
 5 does not recall stepping on Inmate Salameh’s toes at any time. Id. It is his normal
 6 practice to maintain a reasonable distance between the inmates and himself without
 7 compromising security. Id. During the entire time the inmates were escorted on
 8 June 17, 1998, Officer Swanson did not have to use any force. Swanson Decl., ¶ 8.
 9 Further, he did not step on any inmate’s toes. Id. If he had stepped on Inmate
10 Salameh’s toes, he would have remembered and documented it. Id. In all, Inmate
11 Salameh’s transfer from the M Housing Unit to SHU was uneventful and
12 unmemorable to Officer Swanson. Swanson Decl., ¶ 8. Officer Swanson does not
13 recall any incidents occurring on June 17, 1998, which bear any resemblance to the
14 actions Inmate Salameh has alleged and would certainly have remembered such
15 events had they occurred. Id.
16        Moreover, Officer Swanson also did not witness any of the other members of
17 the escort team push, bang, or pull Inmate Salameh into the walls, bars, or gates, or
18 step on Inmate Salameh’s toes, either intentionally or otherwise. Swanson Decl., ¶
19 9. He does not recall Inmate Salameh complaining to him about being treated in a
20 forceful or abusive manner. Id. He also do not recall Inmate Salameh complaining
21 to anyone on June 17, 1998, about being treated in a forceful or abusive manner.
22 Id.
23        Special Investigative Specialist Officer Jamie Bengford provided Inmate
24 Salameh a copy of the Administrative Detention Order on June 17, 1998, at the I
25 Housing Unit in SHU, after he signed the Order. Bengford Decl., ¶ 7; Ex. 12
26 attached thereto. When Officer Bengford handed Inmate Salameh the
27 Administrative Detention Order, Bengford recalls that Inmate Salameh did not
28 mention any staff assault or injuries to him. Bengford Decl., ¶ 8. Officer Bengford




                                             16
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 21 of 29 Page ID #:179



 1 did not see any injuries to Inmate Salameh’s face or any part of his body. Id.
 2 Inmate Salameh did not ask Officer Bengford for medical assistance. Id. Because
 3 of Bengford’s work as an SIS Officer, he would have a higher duty to observe and
 4 report any staff misconduct issues. Bengford Decl., ¶ 8. Officer Bengford would
 5 have contacted his supervisor immediately and prepared a memorandum if Inmate
 6 Salameh had reported to him that he had been assaulted or injured or if Officer
 7 Bengford had suspected that Inmate Salameh had been assaulted or injured by any
 8 BOP staff on June 17, 1998. Id. Moreover, Officer Bengford routinely made
 9 rounds in SHU at least twice a week and made rounds in SHU while Inmate
10 Salameh was in SHU. Id. If there was an incident in SHU, Officer Bengford also
11 responded and investigated with other SIS staff, which meant he could be in SHU
12 for a few hours at a time. Bengford Decl., ¶ 8. While Inmate Salameh was in SHU
13 from June 17, 1998 to June 30, 1998, he did not report to Officer Bengford that he
14 was assaulted by anyone while he was being escorted from the M Unit to the I Unit
15 of SHU. Id.
16        Lieutenant Garcia was assigned to work in SHU during the time that Inmate
17 Salameh was in the I Housing Unit of SHU. Garcia Decl., ¶ 13. On June 24, 1998,
18 Lieutenant Garcia also conducted Inmate Salameh’s 7-day special housing review.
19 Id.; Ex. 23 attached thereto. During the special housing review, Lieutenant Garcia
20 personally interviewed Inmate Salameh. Garcia Decl., ¶ 13. However, Inmate
21 Salameh did not report any staff misconduct to him during the interview or at any
22 time during the period Lieutenant Garcia was assigned to work in SHU while Inmate
23 Salameh was also in SHU. Id. Lieutenant Garcia would be required to inform his
24 supervisors accordingly, if Inmate Salameh had reported any staff
25
26 misconduct and would have done so. Id.
27        Correctional Counselor Salvador Franco talked to and observed Inmate
28 Salameh on a daily basis at the M Housing Unit. Franco Decl., ¶ 3. He worked on
     Inmate Salameh’s programming needs and worked well with him. Id., ¶ 4. On his

                                             17
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 22 of 29 Page ID #:180



 1 weekly rounds in SHU, Counselor Franco would talk to or see Inmate Salameh. Id.,
 2 ¶ 3. At any time, Inmate Salameh could ask for Counselor Franco to talk or see him
 3 in the I Housing Unit. Id. Counselor Franco recalls resolving many of Inmate
 4 Salameh’s minor grievances informally before he filed any administrative remedy.
 5 Franco Decl., ¶ 4. Inmate Salameh was constantly complaining about various minor
 6 issues that were not to his satisfaction. Id. However, Counselor Franco does not
 7 recall Inmate Salameh ever reporting or complaining to him about the alleged
 8 mistreatment on June 17, 1998 or any BOP staff assaulting or causing him injury at
 9 that time. Id. If Inmate Salameh had reported an assault, even if the injuries were as
10 minor as they allegedly were in this incident, Counselor Franco would have reported
11 it to his supervisor and written a memorandum as required regarding any
12 mistreatment of an inmate. Franco Decl., ¶ 5. The incident and staff involved
13 would have been investigated accordingly. Id. However, Counselor Franco never
14 reported any such assault by BOP staff or wrote any memorandums about Inmate
15 Salameh being assaulted or abused because Inmate Salameh did not report or
16 complain to Counselor Franco that he was ever assaulted or abused by BOP staff.
17 Id. Counselor Franco never observed any cuts or bruises on Inmate Salameh’s face
18 or any part of his body. Franco Decl., ¶ 5.
19         Lieutenant Manspeaker does not recall receiving any report from any inmate
20 or staff that Inmate Salameh was assaulted by staff while in the SHU on June 17,
21 1998. Manspeaker Decl., ¶ 6. He would have heard or seen the incident if the staff
22 had to use force on Inmate Salameh or any other inmates on June 17, 1998. Id. He
23 would have remembered if Inmate Salameh was assaulted on that date. Id. At that
24 time, Lieutenant Manspeaker made weekly SHU rounds, which was in addition to
25 going to SHU to talk to staff or inmates a few times during the week. Manspeaker
26 Decl., ¶ 7. While he was in SHU, Inmate Salameh did not tell Lieutenant
27 Manspeaker or others that he was assaulted by the SORT members on June 17,
28 1998. Id. Lieutenant Manspeaker recalls having other discussions with Inmate
     Salameh after his release from the SHU but the alleged June 17 incident was not

                                             18
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 23 of 29 Page ID #:181



 1 discussed with Manspeaker. Id.
 2         On June 29, 1998, Lieutenant Fitzmaurice interviewed the 19 inmates who
 3 were placed in SHU on June 17, including Inmate Salameh. Fitzmaurice Decl., ¶
 4 11. During the interview, Inmate Salameh did not mention any staff assault or
 5 injuries. Id., ¶ 12. Lieutenant Fitzmaurice did not see any injuries to Inmate
 6 Salameh’s face or any part of his body. Id. No inmate witnessed the alleged assault
 7 of Inmate Salameh, while he was being escorted through the H Unit to the I Unit.
 8 Fitzmaurice Decl., ¶ 13.
 9         The evidence will further show that even when Inmate Salameh complained
10 of injuries later in the day on June 17, 1998, to Physician’s Assistant Pagaduan, he
11 did not exhibit any injuries which appeared to result from excessive force. See
12 Decl. of Grethel Pagaduan (“Pagaduan Decl.”), ¶¶ 3, 4 and 5; Ex. 4 attached thereto.
13   Inmate Salameh complained of soreness and numbness to the wrists, a common
14 occurrence after the utilization of secure handcuffs. Pagaduan Decl., ¶ 3. The
15 handcuff marks on his wrists consisted of a little redness but no indentation,
16 grooves, or broken skin on the wrists. Id., ¶ 5. She did not observe any redness or
17 swelling with respect to Inmate Salameh’s eyes or eyelids. Id., ¶ 9. Inmate Salameh
18 never mentioned to the Physician’s Assistant on June 17, 1998, that he had any
19 problems with his eyes. Id. Inmate Salameh had a small amount of blood on one of
20 his toenails that had originated from the small 0.5 cm cut on his chin and had
21 dripped down to his toenail. Pagaduan Decl., ¶¶ 4, 5. Inmate Salameh did not have
22 any other cuts or blood on him. Id., ¶ 10. His toes did not appear to have been
23 stomped on; they were not red, bruised, swollen, cut, or injured in any way. Id.
24
25 The Physician’s Assistant noted that Inmate Salameh only had a minor scratch on
26 the right side of his face. Pagaduan Decl., ¶ 4. The small cut and minor scratch on
27 Inmate Salameh’s face were not consistent with being forcibly banged into bars,
28 gates or walls but could have been self-inflicted or caused by any number of other
     minor accidents or conflicts. Id., ¶ 10. Even if the blood had come from his toe,

                                              19
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 24 of 29 Page ID #:182



 1 such minor bleeding on a toenail was more consistent with stubbing his toe than
 2 with having his bare feet stomped on by booted guards during the transfer. Id.
 3        A week later, on June 24, 1998, he was seen by Physician’s Assistant Mahesh
 4 Patel, who will testify that Inmate Salameh was complaining of “blue eye” with
 5 respect to his right eye. Decl. of Mahesh Patel (“Patel Decl.”), ¶ 5. However, the
 6 Physician’s Assistant will testify that he observed no echymosis (no black eye) and
 7 only a minor bruise to Inmate Salameh’s right upper eyelid, which was not
 8 indicative of any significant trauma. Id., ¶¶ 6-7.
 9        Dr. Philip Ente, a neurologist, will testify that as a BOP-contracting physician
10 he was consulted in April 2000, because Inmate Salameh was claiming numbness in
11 his left hand and he examined Inmate Salameh at that time. Decl. of Dr. Philip Ente
12 (“Ente Decl.”), ¶¶ 2-8. Based on Dr. Ente’s examination and testing, he found that
13 there was no damage to any of the nerves going through Inmate Salameh’s left wrist.
14 Id., ¶ 8. Dr. Ente’s diagnosis was that Inmate Salameh did not have any injury to his
15 hand due to handcuffs. Id., ¶ 9.
16 III.   ARGUMENT
17        A. Inmate Salameh Cannot Establish That Officer Swanson
18        Personally Violated Inmate Salameh’s Eight Amendment Right.
19        Inmate Salameh’s claims are brought against Officer Swanson under Bivens.
20 In order to prevail in his Bivens claim against Officer Swanson, Inmate Salameh
21 must establish that Officer Swanson personally violated his Eighth Amendment
22 right. See Chuman v. Wright, 76 F.3d 292, 294 (9th Cir. 1996); Jones v. Williams,
23 297 F.3d 930, 934-35 (9th Cir. 2002). Specifically, in order to prevail in his Eighth
24 Amendment claim, Inmate Salameh must establish that Officer Swanson used
25 malicious or sadistic force against Inmate Salameh. Jeffers v. Gomez, 267 F.3d 895,
26 910-11 (9th Cir. 2001).
27         The conditions of a prisoner’s incarceration are subject to analysis under the
28 Eighth Amendment. Hutto v Finney, 437 U.S. 678, 685 (1978); Hoptowit v.




                                             20
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 25 of 29 Page ID #:183



 1 Spellman, 753 F.2d 779, 784 (9th Cir. 1985). However, under the Eighth
 2 Amendment doctrine, prison officials are afforded “wide-ranging deference in the
 3 adoption and execution of policies and practices that in their judgment are needed to
 4 preserve internal order and discipline and to maintain institutional security.” Bell v.
 5 Wolfish, 441 U.S. 520, 547 (1979); Anderson v. County of Kern, 45 F.3d 1310,
 6 1316 (9th Cir. 1995), as amended 75 F.3d 448 (1995), cert. denied, 516 U.S. 916
 7 (1995).
 8         In particular, “[t]he unnecessary and wanton infliction of pain...constitutes
 9 cruel and unusual punishment forbidden by the Eighth Amendment.” Hudson v.
10 McMillan, 503 U.S. 1, 5 (1992) quoting Whitley v. Albers, 475 U.S. 312, 319
11 (1986). What is necessary to establish unnecessary and wanton infliction of pain
12 varies according to the nature of the constitutional violation. Whitley, 475 U.S. at
13 320. When prison officials are accused of using excessive physical force in violation
14 of the Eighth Amendment, the “core judicial inquiry is...whether force was applied
15 in a good-faith effort to maintain or restore discipline, or maliciously and
16 sadistically to cause harm.” Hudson, 503 U.S. at 7-8, citing Whitley v. Albers, 475
17 U.S. 312 (1986). Accordingly, the plaintiff must establish that the defendant used
18 malicious or sadistic force against him. Jeffers v. Gomez, 267 F.3d 895, 910-11 (9th
19 Cir. 2001).
20         However, the Eighth Amendment’s prohibition on cruel and unusual
21 punishments “necessarily excludes from constitutional recognition de minimis uses
22 of physical force, provided that the use of force is not of a sort ‘repugnant to the
23 conscience of mankind.’” Hudson v. McMillian, 503 U.S. 1 at 9-10, citing Whitley,
24 475 U.S. at 327. Thus, the Supreme Court has recognized that not every
25 “malevolent touch by a prison guard gives rise to a federal cause of action.” Id.
26         In Saucier v. Katz, 533 U.S. 194 (2001), the Supreme Court clarified the test
27 for qualified immunity and established a two-step analysis. Id.; Drummond ex rel.
28 Drummond v. City of Anaheim, 343 F.3d 1052, 1056 (9th Cir. 2003). The first step
     is to determine whether the alleged actions are unconstitutional as a matter of law.

                                               21
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 26 of 29 Page ID #:184



 1 Saucier, 533 U.S. at 201; see also Johnson v. County of Los Angeles, 340 F.3d 787,
 2 791-792 (9th Cir. 2003). If not, the inquiry ends.
 3         If so, the next step is to analyze whether the defendants are entitled to
 4 qualified immunity because the rights asserted were not clearly established at the
 5 time. Id. The “relevant, dispositive inquiry in determining whether a right is clearly
 6 established is whether it would be clear to a reasonable officer that his conduct was
 7 unlawful in the situation he confronted.” Saucier, at 202. Although the precise act
 8 need not have been declared unlawful, its unlawfulness must be apparent in the light
 9 of pre-existing law. Hope v. Pelzer, 536 U.S. 730, 739 (2002); see also Estate of
10 Ford v. Ramirez-Palmer, 301 F.3d 1043, 1050 (9th Cir. 2002).
11         Accordingly, a defendant is entitled to qualified immunity if he makes a
12 reasonable mistake. Saucier, 533 U.S. at 205. “Qualified immunity “shields an
13 officer from suit when she makes a decision that, even if constitutionally deficient,
14 reasonably misapprehends the law governing the circumstances she confronted.”
15 Brosseau v. Haugen, 125 S.Ct 596, 599 (2004). In Brosseau, the Supreme Court
16 held that an officer was entitled to qualified immunity because her use of deadly
17 force “fell within the ‘hazy border between excessive and acceptable force.’” Id. at
18 600, quoting Saucier, 533 U.S. at 206.
19         This standard “‘gives ample room for mistaken judgment’ by protecting ‘all
20 but the plainly incompetent or those who knowingly violate the law.’” Hunter,
21 supra, quoting Malley v. Briggs, 475 U.S. 335, 343 (1986). The “accommodation
22 for reasonable error exists because ‘officials should not err always on the side of
23 caution’ because they fear being sued.” Hunter, at 228-229, quoting Davis v.
24 Scherer, 468 U.S. 183, 196 (1984).
25         This inquiry is distinct from the initial inquiry into the constitutional
26 violation. Saucier, 533 U.S. at 205 (Qualified immunity inquiry “has a further
27 dimension”); Estate of Ford v. Ramirez-Palmer, 301 F.3d 1043, 1049 (9th Cir. 2002)
28 (“Saucier’s key point is that the qualified immunity inquiry is separate from the
     constitutional inquiry”).

                                                22
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 27 of 29 Page ID #:185



 1         The defendant’s mental state, therefore, is only relevant to the qualified
 2 immunity test to the extent that it is an element of the alleged constitutional
 3 violation. Clement v. Gomez, 298 F.3d 898, 903 (9th Cir. 2002); Jeffers v. Gomez,
 4 267 F.3d 895, 911 (9th Cir. 2001); Crawford-El v. Britton, 523 U.S. 574, 587-589
 5 (1998) (“Evidence concerning the defendant's subjective intent is simply irrelevant
 6 to [qualified immunity]”).
 7         Accordingly, a defendant may act “maliciously and sadistically to cause
 8 harm,” and may still act “reasonably” for the purposes of qualified immunity.
 9 Marquez v. Gutierrez, 322 F.3d 689, 693 (9th Cir. 2003). “Courts may not simply
10 stop with a determination that a triable issue of fact exists as to whether prison
11 officials [acted unconstitutionally]; instead, the qualified immunity inquiry is
12 separate from the constitutional inquiry.” Id., quoting Estate of Ford v. Ramirez-
13 Palmer, 301 F.3d at 1053; See also Crawford-El v. Britton, 523 U.S. 574, 587-589
14 (1998) (“[A] defense of qualified immunity may not be rebutted by evidence that the
15 defendant's conduct was malicious or otherwise improperly motivated”); Hope v.
16 Pelzer, 536 U.S. 730, 739 (2002) (After finding prison officials violated Eighth
17 Amendment by showing “reckless indifference” to dangerous prison conditions,
18 Court held that “Despite their participation in ... constitutionally impermissible
19 conduct, respondents may nevertheless be shielded from liability for civil damages
20 if their actions did not violate clearly established statutory or constitutional rights of
21 which a reasonable person would have known.”) (internal quotations and citations
22
23 omitted).
24         In this case, the evidence will show that Officer Swanson is not personally
25 liable to Inmate Salameh under Bivens because Inmate Salameh cannot establish
26 that Officer Swanson violated Inmate Salameh’s Eighth Amendment right by using
27 malicious or sadistic force against him. Furthermore, even if Inmate Salameh were
28 to establish an Eighth Amendment violation, he cannot establish that Officer
     Swanson engaged in any clearly unlawful conduct. Inmate Salameh claims that

                                               23
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 28 of 29 Page ID #:186



 1 Officer Swanson placed handcuffs on him too tightly, held him under the arm in an
 2 uncomfortable manner, and banged him into the bars of gates while escorting him to
 3 the SHU. In addition, Inmate Salameh claims that his bare toes were stomped on
 4 during the transfer. Officer Swanson and other BOP staff will testify that Inmate
 5 Salameh was indeed handcuffed in accordance with BOP policy on the
 6 precautionary use of restraints. Inmate Salameh was also held on his upper arm
 7 according to transfer protocol pertaining to maximum security inmates such as
 8 Inmate Salameh. However, the escort team members did not carry or lift Inmate
 9 Salameh up under his arm during the transfer on June 17, 1998. BOP staff will also
10 testify that Officer Swanson did not bang Inmate Salameh into bars, walls or gates,
11 stomp on his toes, or otherwise use excessive force against him during the transfer.
12 Throughout the transfer as well as immediately afterwards, Inmate Salameh was
13 observed by a number of BOP members, none of whom observed any injuries on
14 Inmate Salameh. The evidence will further show that even when Inmate Salameh
15 complained of injuries later in the day, he did not exhibit any injuries which
16 appeared to result from excessive force.
17        In sum, Inmate Salameh cannot establish that Officer Swanson used sadistic
18 or malicious force against him so as to subject him to cruel and unusual
19 \\\
20 \\\
21 \\\
22
23
24
25
26
27
28




                                              24
Case 2:98-cv-08493-SVW-MLG Document 169 Filed 01/02/08 Page 29 of 29 Page ID #:187



 1 punishment. Thus, Inmate Salameh cannot prevail on his claim that Officer
 2 Swanson violated his rights under the Eighth Amendment.
 3   DATED: January 2 , 2008.        THOMAS P. O’BRIEN
                                     United States Attorney
 4                                   LEON W. WEIDMAN
                                     Assistant United States Attorney
 5                                   Chief, Civil Division
 6
                                           /s/
 7                                   KATHERINE M. HIKIDA
                                     Assistant United States Attorney
 8
                                     Attorneys for Federal Defendant
 9                                   JASON SWANSON
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28




                                           25
